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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     GEORGE JARVIS AUSTIN,                              Case No. 21-cv-09076-SI
                                   8                    Plaintiff,
                                                                                            ORDER DISMISSING COMPLAINT
                                   9             v.                                         WITH PREJUDICE
                                  10     ABC LEGAL,                                         Re: Dkt. Nos. 78, 80, 83, 84
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          On May 20, 2022, the Court entered an order granting defendant ABC Legal’s motion to

                                  14   dismiss plaintiff George Jarvis Austin’s second amended complaint for failure to state a claim on

                                  15   which relief could be granted. Dkt. No. 77. The Court’s dismissal order identified three deficiencies

                                  16   in Austin’s second amended complaint: (1) failure to allege, as required in the Ninth Circuit for a

                                  17   prima facie case under 42 U.S.C § 1981, that “similarly-situated individuals who were not members

                                  18   of the plaintiff’s protected class” were not denied the right to contract for the services allegedly

                                  19   denied to Austin; (2) failure to allege, as required to state an Unruh Act claim under California law,

                                  20   nonconclusory allegations “that ABC Legal acted with discriminatory intent;” and (3) failure to

                                  21   specifically identify or plead verbatim, as required to state a defamation claim under California law,

                                  22   the alleged defamatory statements, or when and where the statements were published. Dkt. No. 77

                                  23   at 5-7. Austin was granted two weeks to amend his complaint and cure these deficiencies.

                                  24          Within a few hours after the entry of the Court’s order, Austin filed a third amended

                                  25   complaint and a motion for reconsideration directed at the Court’s order. Dkt. No. 78, 79. ABC

                                  26   Legal filed a motion to dismiss the third amended complaint on May 23, 2022. Dkt. No. 80. That

                                  27   same day, Austin filed an opposition brief and his own motion for judgment in his favor. Dkt. No.

                                  28   83 (captioned “Motion for Judgment as a Matter of Law”).
                                            Case 3:21-cv-09076-SI Document 88 Filed 05/31/22 Page 2 of 2




                                   1          The third amended complaint does not add additional factual allegations that would cure the

                                   2   deficiencies identified in the Court’s May 20, 2022 dismissal order.          Accordingly, Austin’s

                                   3   complaint remains deficient in the three ways identified above, and the Court will thus GRANT

                                   4   ABC Legal’s motion to dismiss. Because Austin was given ample opportunity and guidance to draft

                                   5   a factually adequate complaint, but has twice failed to do so, dismissal is with prejudice.

                                   6          The Court further DENIES Austin’s motion for reconsideration and motion for judgement

                                   7   as a matter of law. All future hearings in this case are VACATED.

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                                   9          IT IS SO ORDERED.

                                  10   Dated: May 31, 2022

                                  11                                                    ______________________________________
                                                                                        SUSAN ILLSTON
                                  12                                                    United States District Judge
Northern District of California
 United States District Court




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